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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


SHARI L. OLIVER, M.A.O., and M.L.O.,   )       Case No. 2:24-cv-12962
                                       )
           Plaintiffs,                 )       Hon. GERSHWIN A. DRAIN
                                       )       Mag. ELIZABETH A. STAFFORD
      v.                               )
                                       )
OAKLAND COUNTY FRIEND OF THE COURT, )
JULIE A. MCDONALD, KATHERINE K.        )
HERITAGE, SUZANNE K. HOLLYER,          )
STEPHANIE PYRROS-HENSEN,               )
ELIZABETH L. GLEICHER, JANE E. MARKEY, )
DOUGLAS B. SHAPIRO, SIMA G. PATEL,     )
PETER K. DEVER, JEFFERY S. MATIS,      )
MATTHEW W. OLIVER, PHILIP G. VERA,     )
SUSAN E. COHEN, JEREMY D. BOWIE,       )
MICHAEL D. WARREN JR.,                 )
SARAH K. BRENNER, MARK B. BERKE,       )
EMANUEL AWUTA-COKER,                   )
LIESA STOCKDALE, RYAN E. CHRISTIANSEN, )
MATTHEW L. BELL,                       )
                                       )
           Defendants.                 )


          PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT
           AGAINST DEFENDANT MATTHEW W. OLIVER


                                               Shari L. Oliver, Plaintiff
                                               189 N. Castle Dr. (2675 W.)
                                               Cedar City, UT 84720
                                               (248) 321-6175
                                               jebezob@hotmail.com
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        NOW COME Plaintiffs, SHARI L. OLIVER (“Shari”), M.A.O., and M.L.O.,

pursuant to Fed. R. Civ. P. 55(b)(2) with a motion for default judgment against

Defendant MATTHEW W. OLIVER (“Oliver”).

        In support of this motion for a default judgment, Plaintiffs state:

        1.    Fed R. Civ. P. 12(a)(1)(A)(i) states a defendant must serve a

responsive pleading within twenty-one (21) days of being served.

        2.    Defendant Oliver was served the summons and complaint on

November 26, 2024 at 6:03 PM EST.

        3.    Affidavit of Service for personal service of Defendant Oliver is ECF

No. 10, PageID.425.

        4.    Defendant Oliver is not an infant, incompetent person, or currently in

the military service.

        5.    Twenty-one (21) days from date of personal service was December

17, 2024.

        6.    Defendant Oliver failed to plead or otherwise defend by December 17,

2024.

        7.    On December 18, 2024, Plaintiff Shari requested a clerk’s entry of

default [ECF No. 22, PageID.462].


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      8.     On December 18, 2024, CLERK’S ENTRY OF DEFAULT was

issued; Party in Default: Matthew W. Oliver [ECF No. 25, PageID.478] in

accordance with Fed. R. Civ. P. 55(a).

      9.     Defendant Oliver has failed to plead or otherwise defend by the date

this document was filed.

      10.    For the reasons above and as set forth more fully in the accompanying

brief, good cause exists to enter a default judgment against Defendant Oliver.

      WHEREFORE, Plaintiffs SHARI L. OLIVER, M.A.O. and M.L.O. move this

Court pursuant to Fed. R. Civ. P. 55(b)(2) to enter a DEFAULT JUDGMENT

against Defendant MATTHEW W. OLIVER for failure to properly and timely address,

plead, or otherwise defend the issues complained of in Plaintiffs’ verified

complaint [ECF No. 1] in accordance with Fed. R. Civ. P. 8(b).

                                         Respectfully submitted,
                                            /s/ Shari L. Oliver
                                         __________________________________
Dated: February 21, 2025                 SHARI L. OLIVER, Plaintiff and mother
                                         189 N. Castle Dr. (2675 W.)
                                         Cedar City, UT 84720
                                         Telephone: (248) 321-6175
                                         E-mail: jebezob@hotmail.com




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


SHARI L. OLIVER, M.A.O., and M.L.O.,   )       Case No. 2:24-cv-12962
                                       )
           Plaintiffs,                 )       Hon. GERSHWIN A. DRAIN
                                       )       Mag. ELIZABETH A. STAFFORD
      v.                               )
                                       )
OAKLAND COUNTY FRIEND OF THE COURT, )
JULIE A. MCDONALD, KATHERINE K.        )
HERITAGE, SUZANNE K. HOLLYER,          )
STEPHANIE PYRROS-HENSEN,               )
ELIZABETH L. GLEICHER, JANE E. MARKEY, )
DOUGLAS B. SHAPIRO, SIMA G. PATEL,     )
PETER K. DEVER, JEFFERY S. MATIS,      )
MATTHEW W. OLIVER, PHILIP G. VERA,     )
SUSAN E. COHEN, JEREMY D. BOWIE,       )
MICHAEL D. WARREN JR.,                 )
SARAH K. BRENNER, MARK B. BERKE,       )
EMANUEL AWUTA-COKER,                   )
LIESA STOCKDALE, RYAN E. CHRISTIANSEN, )
MATTHEW L. BELL,                       )
                                       )
           Defendants.                 )


            PLAINTIFFS’ BRIEF IN SUPPORT OF:
       PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT
          AGAINST DEFENDANT MATTHEW W. OLIVER


                                               Shari L. Oliver, Plaintiff
                                               189 N. Castle Dr. (2675 W.)
                                               Cedar City, UT 84720
                                               (248) 321-6175
                                               jebezob@hotmail.com
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       NOW COME Plaintiffs, SHARI L. OLIVER (hereinafter “Shari”), M.A.O., and

 M.L.O., pursuant to Fed. R. Civ. P. 55(b)(2) with a motion for default judgment

 against Defendant MATTHEW W. OLIVER (hereinafter “Oliver”).


                                  INTRODUCTION

       “Any violation of civil rights will be aggressively pursued and
       prosecuted by my administration. No one will be above the law.”
                                  – Donald J. Trump

       The Plaintiffs invoke this Court’s Federal Question Jurisdiction pursuant to

 28 U.S.C. § 1331 and §1343(a)(1), (2), and (3). Notably, Plaintiffs’ case involves

 the violation of Federal laws, inter alia, deprivation of rights under color of law

 pursuant to 42 U.S.C. § 1983, conspiracy to interfere with civil rights pursuant to

 42 U.S.C. § 1985(2), (3), Racketeer Influenced and Corrupt Organizations (RICO)

 pursuant to 18 U.S.C. § 1964(c), and RICO conspiracy pursuant to 18 U.S.C. §

 1964(d). This action arises under violations of the First, Fourth, Fifth, Sixth,

 Seventh, Ninth, Thirteenth, and Fourteenth Amendments of the United States

 Constitution. Pursuant to 28 U.S.C. § 1355 Federal District Court shall have

 original jurisdiction, exclusive of the courts of the States, of any action or

 proceeding for the recovery or enforcement of any fine, penalty, or forfeiture,

 pecuniary or otherwise, incurred under any Act of Congress—subject matter of this

 instant case involves Title IV-D of the Social Security Act of 1975 (Child Support

 Enforcement Program) and Uniform Interstate Family Support Act (UIFSA). In

                                            1
Case 2:24-cv-12962-GAD-EAS ECF No. 75, PageID.5368 Filed 02/21/25 Page 12 of 36




 1996, Congress passed and President Bill Clinton signed the Personal

 Responsibility and Work Opportunity Act (42 U.S.C. § 666), which required that

 states adopt UIFSA by January 1, 1998 or face loss of federal funding for child

 support enforcement. Every U.S. State has adopted either the 1996 or a later

 version of UIFSA. Allegations substantiate the weaponization of “child support”

 and Social Security fraud.


                              STATEMENT OF FACT

       1.     Defendant Oliver has FAILED to answer Plaintiffs’ verified complaint

 [ECF No. 1] pursuant to Fed. R. Civ. P. 12(a)(1)(A)(i).

       2.     Defendant Oliver, jointly engaged with other Defendant state officials

 acting under color of law, did deprive, and is depriving Plaintiffs of substantive

 rights to a familial relationship, liberty and personal freedom (e.g. punishment of

 Plaintiff Shari for refusing to be a wage slave: Plaintiff Shari’s unlawful

 imprisonment for one hundred eight (108) days until release after Plaintiff Shari’s

 mother was extorted $31,063.37), property, procedural due process, and equal

 protection of the laws of the United States of America and the States of Michigan

 and Utah; actions are violations within the meaning of 42 U.S.C. §§ 1983 and

 1985. Parratt v. Taylor, 451 U.S. 527, 535 (1981).

       3.     Defendant Oliver’s perjury in family court proceedings for Case No.

 2020-880855-DM was utilized by Defendants family court judge JULIE A.


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 MCDONALD (“McDonald”) and OAKLAND COUNTY FRIEND OF THE COURT (“FOC”)

 evaluator to create false narratives as false evidence in support the elimination of

 Plaintiff Shari’s custody of her children Plaintiffs M.A.O. and M.L.O. [Relevant

 documents, e.g. ECF No. 45-10 to 45-15, 68-10 to 68-14, plus others referenced in

 Complaint No. 1 can be provided at a later date].

       4.     Defendant judge McDonald labelled Plaintiff Shari the “breadwinner”

 [ECF No. 45-3, PageID.1873, 1879].

       5.     Elimination of custody (“0” overnights) results in a maximum “child

 support” calculation, leads to maximum income (transfer Plaintiff Shari’s assets to

 her alleged abuser Defendant Oliver, plus force a monthly “child

 support”/kidnapping fee from Plaintiff Shari—leading to wage slavery).

       6.     Marriage and divorce can be a profitable scam—Defendant Oliver

 abuses his wife and children, loses his job three (3) times during marriage with the

 third job loss due to sexual harassment allegations; when Plaintiff Shari fights for

 Plaintiffs rights Defendant Oliver commits perjury in order to take her money and

 their children through the divorce.

       7.     Plaintiff Shari is ordered to be Defendant Oliver and Defendant

 FOC’s financial slave through monthly payments to Defendant FOC, and the order

 is made by Defendant judge McDonald who has financial incentives to profit off of




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 the order along with Defendant FOC, Defendants appellate judges, Defendants

 assistant attorney generals, and others.

       8.       Defendant Oliver has a high school diploma versus Plaintiff Shari has

 a master in engineering.

       9.       ECF No. 1, PageID.10-17 details mens rea and how others profit from

 fraud and other criminal activity through the Family Court federal-state enterprise.

       10.      In divorce Case No. 2020-880855-DM, all Plaintiff Shari’s witnesses

 were denied by Defendant judge McDonald.

       11.      Filings in this instant case show an e-mail from Defendant Oliver’s

 former employer, and affidavits from women whose statements contradict

 Defendant Oliver’s statements made under oath, e.g. MOTION TO IMPEACH

 TESTIMONY OF MATTHEW WARREN OLIVER [ECF No. 52-10] (See ECF

 44-16, PageID.1537-1567 for entire copies):

             a. Affidavit Plaintiff’s mother Shirley Ober has statements substantiating

                she witnessed abusive actions of Defendant Oliver towards Plaintiff

                M.L.O. [ECF No. 52-10, PageID.4100].

             b. Plaintiffs’ former daycare provider Deborah Jackson made statements

                that she provided childcare services while Defendant Oliver was

                unemployed [ECF No. 52-10, PageID.4087-4088].




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             c. Defendant Oliver’s former employer Jeff David made an e-mail with

                statements that Defendant Oliver’s employment was terminated due to

                a sexual harassment allegation [ECF No. 52-10, PageID.4090].

             d. Defendant Oliver’s former coworker Michelle LaForest made a letter

                with statements substantiating that Defendant Oliver sexually

                harassed her [ECF No. 52-10, PageID.4091].

             e. Affidavit of Plaintiff’s sister Karen Soots has statements

                substantiating that Defendant Oliver sexually harassed her [ECF No.

                52-10, PageID.4095].

       12.      Plaintiff Shari knows from personal experience the difficulty in

 coming forward with sexual harassment allegations (Exhibit -2).

       13.      As a sexual harassment victim, Plaintiff Shari now knows from

 personal experience the importance for victims to speak up in order for

 perpetrators to be held accountable, to prevent more of the same, and for

 witnesses to see that law and justice is upheld.

       “Crime is contagious. If the Government becomes a lawbreaker, it breeds
       contempt for law; it invites every man to become a law unto himself; it
       invites anarchy.” Olmstead v. United States, 277 U.S. 438, 485 (1928).

       14.      Maximizing the “child support” payment is financially advantageous

 for the State to have profits and higher cash flow.




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       15.      More “child support” collections allow States to request more federal

 funding pursuant to Title IV-D of the Social Security Act.

       16.   Defendant OAKLAND COUNTY FRIEND OF THE COURT received federal

 funding of approximately $89,971,164.79 for seven (7) years [ECF No. 1-3,

 PageID.329].

       17.   On or about February 4, 2025, Defendant Oliver made a motion to

 reopen a child support Case No. 2020-880799-DC (Exhibit -3).

       18.   A Title IV-D hearing is set for March 10, 2025 with a REFEREE,

 employed by Defendant FOC, presiding (Exhibit -4).

       19.   Case No. 2020-880799-DC was closed and matters continued with

 Case No. 2020-880855-DM (Exhibit -5).

       20.   JOD [ECF No. 45-4, PageID.1904] and Defendant Oliver deny

 Plaintiff Shari from having custody of her children Plaintiffs M.A.O. and M.L.O.

       21.   JOD [ECF No. 45-4, PageID.1905-1906, 1908] and Defendant Oliver

 deny Plaintiff Shari from removing Plaintiffs M.A.O. and M.L.O. from the State of

 Michigan (Exhibit -6).

       22.   Plaintiff Shari resides in the State of Utah.

       23.   E-mails from 2024 show Defendant Oliver not agreeing to Plaintiff

 Shari travelling with Plaintiffs M.A.O. and M.L.O. on Spring Break to a vacation




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 destination in the State of Ohio (approximately one (1) hour less drive time than

 the changed destination of Traverse City, Michigan) (Exhibit -6).

         24.   Plaintiff Shari was unlawfully incarcerated for fighting for Plaintiffs’

 unalienable rights that are secured by constitutions, such as First, Fifth, Ninth, and

 Fourteenth Amendment rights to a familial association as well as refusing to be a

 wage slave—a violation of Thirteenth Amendment of the Constitution of the

 United States and Article I § 9 of the Constitution of the State of Michigan of

 1963.

         25.   Plaintiff Shari refused to pay alleged child abusers Defendants Oliver

 and FOC, who profit off of children kidnapped from Plaintiff Shari under color of

 law.

         26.   Defendant Oliver and FOC extorted $31,063.37 out of Plaintiff

 Shari’s mother Shirley Ober to release Plaintiff Shari from jail.

         27.   Plaintiff Shari never agreed to UNIFORM CHILD SUPPORT

 ORDER (UCSO) and DID NOT SIGN [ECF No. 1-3, PageID.338-341].

         Child support agreements are equivalent to interstate commercial contracts.
         U.S. v. Sage, 92 F.3d 101 (2d Cir. 1996).

         28.   UCSO was modified to $0 for “child support”/kidnapping fee (Exhibit

 -7) as a condition of Shirley Ober paying the extortion and kidnapping fee.

         29.   Plaintiff Shari has an UNALIENABLE RIGHT to custody of her

 children, Plaintiffs M.A.O. and M.L.O.

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       30.   Plaintiff Shari has an UNALIENABLE RIGHT to financially support

 her children WITHOUT government interference.

       31.   Plaintiff Shari was the primary and then the sole financial supporter

 for her children Plaintiffs M.A.O. and M.L.O. until FAMILY COURT REMOVED

 HER CUSTODY UNDER COLOR OF LAW.

       32.   Plaintiffs M.A.O. and M.L.O. are kidnapped from Plaintiff Shari

 UNDER COLOR OF LAW.

       33.   Plaintiff Shari has a DUTY to FOLLOW THE LAW pursuant to 18

 U.S.C. §§ 2 (principals), 3 (accessory after the fact), and 4 (misprision of

 felony), and to NOT financially support a criminal enterprise—alleged

 Defendant FOC, Defendants, and other public servants of judicial and

 executive branches of government who apparently cause crimes against

 humanity [e.g. see Derek Malecki—denial of parental rights resulted in his death,

 ECF No. 1-3, PageID.366-367, e.g. see whistleblower testimony of Carol Rhodes

 ECF No. 1, PageID.27; No. 1-1, PageID.116-119; No. 1-2, PageID.282-283; No.

 44-28; Bill Hall statements ECF No. 1-2, PageID.282-283, 287-288; former

 Georgia Senator Nancy Schaefer ECF No. 54, PageID.4412].

       34.   Plaintiffs alleged and described this government entrapment scheme

 in ECF No. 63, PageID.4573-4583.




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       35.    It is a FACT that four (4) RICO predicate acts were alleged in 2022

 (Case No. 2:22-cv-12665-GAD-EAS) and now eight (8) RICO predicate acts were

 alleged in Complaint [ECF No. 1].

       36.    It is a FACT that RICO is continuing, as Defendant Oliver has

 initiated additional proceedings, continues to deny Plaintiffs’ familial

 association, and once again attempts to extort Plaintiff Shari through utilizing

 Defendant FOC under color of law, and the alleged criminal usage of the

 family court federal-state enterprise (Exhibit -8) which may result in a joinder or

 supplemental pleadings.

       37.    It is a FACT that Defendant Oliver cannot produce admissible

 evidence to dispute his participation along with other public servant Defendants

 that are violating Plaintiffs rights under color of law, as well as his participation in

 the criminal usage of the Family Court federal-state enterprise.

       38.    It is a FACT that the failure to deny any allegation in the complaint,

 except for the amount of damages, constitutes an admission. See Fed. R. Civ. P.

 8(b)(6).

       Rule 8. General Rules of Pleading
       (b) Defenses; Admissions and Denials.
       (6) ) Effect of Failing to Deny. An allegation—other than one relating to the
       amount of damages—is admitted if a responsive pleading is required and
       the allegation is not denied. If a responsive pleading is not required, an
       allegation is considered denied or avoided. (emphasis added)




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       39.    It is a FACT that Defendant Oliver has FAILED to plead or otherwise

 defend this action.

       40.    It is a FACT that Defendant Oliver is in default [CLERK’S ENTRY

 OF DEFAULT, ECF No. 25, PageID.478].

       41.    It is a FACT that Plaintiffs are entitled to judgment by default against

 Defendant Oliver pursuant to Rule of Law.

       42.    It is a FACT that pursuant to Fed. R. Civ. P. 55(b)(2) Plaintiffs have a

 right to relief by the evidence.

       43.    It is a FACT that there is no genuine dispute by Defendant Oliver as to

 any material fact pleaded within Plaintiffs’ verified complaint [ECF No. 1] and

 Plaintiffs are entitled to judgment as a matter of law for Defendant Oliver’s

 participation in a clear violations of laws, along with other Defendants’ breach of

 fiduciary duty to Plaintiffs and the people of the States of Michigan, Utah, and the

 other people of the United States to uphold law pursuant to oath of office as well as

 a clear breach in contracts for federal funding pursuant to Title IV-D of the Social

 Security Act of 1975.


                          AUTHORITY OF THIS COURT

       Clearly, this Court has subject-matter jurisdiction due to statutory laws for

 deprivation of rights and conspiracy under color of law 42 U.S.C. §§ 1983 and

 1985, and federal RICO 18 U.S.C. § 1964. Included in Complaint [ECF No. 1] are


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 allegations against public servants from both States of Michigan and Utah, plus

 allegations of weaponization of welfare and Social Security fraud with mens rea in

 pursuit federal financial incentives from Title IV-D contracts made pursuant to the

 Social Security Act of 1975. The Internal Revenue Service (IRS) was solicited by

 Defendant FOC to rob Plaintiff Shari of her 2021 federal tax refund. Furthermore,

 this Court has original jurisdiction pursuant to statutory law 28 U.S.C. § 1355, for

 which this instant case is based on fine, penalty, and forfeiture with matters

 involving Title IV-D and UIFSA.



 Federal Question: Deprivation of Rights and Conspiracy Under Color of Law

       Monroe v. Pape, 365 U.S. 167 (1961) recognized that 42 U.S.C. § 1983
       applies to private conduct, including perjury, assault and battery.
       To establish a prima facie case under 42 U.S.C. § 1983, plaintiffs must
       allege two elements: (1) the action occurred “under color of law” and (2) the
       action is a deprivation of a constitutional right or a federal statutory right.
       Parratt v. Taylor, 451 U.S. 527, 535 (1981), Gomez v. Toledo, 446 U.S. 635,
       640 (1980), see also, e.g., Groman v. Township of Manalapan, 47 F.3d 628,
       633 (3rd Cir. 1995).
       To act “under color of” state law for § 1983 purposes, it is enough that he is
       a willful participant in joint action with the State or its agents. Dennis v.
       Sparks, 449 U.S. 24 (1980).
       Private persons, jointly engaged with state officials in the challenged action,
       are acting under “color of law” for purposes of § 1983 actions. Adickes v. S.
       H. Kress & Co., 398 U.S. 144 (1970); United States v. Price, 383 U.S. 787
       (1966).
       “The very purpose of § 1983 was to interpose the federal courts between the
       States and the people, as guardians of the people’s federal rights -- to protect


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       the people from unconstitutional action under color of state law, "whether
       that action be executive, legislative, or judicial." Ex parte Virginia, 100 U.S.
       at 100 U.S. 346.” Mitchum v. Foster, 407 U.S. 225, at 242 (1972).

       “[T]he interest of parents in the care, custody, and control of their children—
       is perhaps the oldest of the fundamental liberty interests recognized by [the
       Supreme] Court.” Troxel v. Granville, 530 U.S. 57, 65 (2000).
       “The rights of parents to care, custody, and nurture of their children is of
       such character that it cannot be denied without violating those fundamental
       principles of liberty and justice which lie at the base of all our civil and
       political institutions. As such, the rights . . . are fundamental rights protected
       by First, Fifth, Ninth, and Fourteenth Amendments of the United States
       Constitution.” Doe v. Irwin, 441 F. Supp. 1247 (W.D. Mich. 1977).

       Enforcement of the constitutional rights specified in Plaintiffs’ civil

 rights complaint is in the public interest.



  Federal Question: Racketeer Influenced and Corrupt Organizations (RICO)

       To state a RICO claim, Plaintiffs must plead the following elements: "(1)
       conduct (2) of an enterprise (3) through a pattern (4) of racketeering
       activity." Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 496, 105 S.Ct.
       3275, 87 L.Ed.2d 346 (1985).

       To successfully allege a pattern of racketeering activity, plaintiffs must
       charge that: (1) the defendants committed two or more predicate acts within
       a ten-year time span; (2) the predicate acts were related to one another; and
       (3) the predicate acts demonstrated criminal conduct of a
       continuing nature. See 18 U.S.C. § 1961(5); H.J. Inc. v. Northwestern Bell
       Tel. Co., 492 U.S. 229, 239-43, 109 S.Ct. 2893, 2900-2903, 106 L.Ed.2d
       195 (1989); Childers, 18 F.3d at 910-13; see also State v. Lucas, 600 So.2d
       1093, 1094 (Fla.1992) (adopting the criteria set forth in H.J. Inc.).




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       18 U.S.C § 1964(c) of the RICO Act allows civil claims against anyone

 accused of a RICO violation. Complaint alleges the Family Court federal-state

 enterprise is being used criminally.

       Controlling case law addressing government bodies as RICO participants

 holds that government bodies whose conduct meets the definitions as applied to

 non-government entities also applies to them, which would include state judges,

 federal judges, U.S. Department of Justice, and others. This includes aiding and

 abetting and conspiracy against the rights of citizens.

       A line of cases hold that any governmental agency, court, political office or

 the like could serve as a RICO “enterprise.” United States v. Thompson, 685 F.2d

 993, 999 (6th Cir. 1982)(en banc) cert. denied, 459 U.S. 1072 (1983). Among the

 government units that have been held to be “enterprises” are offices of governors

 and state legislators, courts, court clerks’ offices. See e.g., United States v.

 Stratton, 649 F.2d 1066, 1072-75 (5th Cir. 1981); United States v. Clark, 656 F.2d

 1259, 1261-67 (8th Cir. 1981) Office of county judge; United States v. Frumento,

 405 F. Supp. 23, 29-30 (E.D. Pa. 1975), aff’d 563 F.2d 1083 (3d Cir. 1977), cert.

 denied, 434 U.S. 1072 (1978).

       Decisions after Frumento expanded government activity to every

 conceivable government agency, court, or political office. United States v.

 Thompson, 669 F.2d 1143 (6th Cir. 1982), revd 685 F.2d 993 (6th Cir. 1982)(en


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 banc), cert. denied, 459 U.S. 1072 (1983). Each of these criminal acts were

 compounded by the fact that they were perpetrated by people in positions of trust,

 who were paid to enforce the law. Expanding on the number of parties involved in

 the series of predicate acts were the unknown but suspected − U.S. Department of

 Justice − parties that were orchestrating the multiple schemes and conspiracies and

 protecting each of the criminal acts of each and every one.

       The racketeering activity is not required to benefit the enterprise. The

 participants in the scheme are not required to have personally profited, though

 some did. United States v. Killip, 819 F.2d 1542, 1549 (10th Cir. 1987).

       RICO allows for prosecution of all individuals involved in a corrupt

 organization. Judges can and are sentenced under RICO.

       The Seventh Circuit Court of Appeals held that the Circuit Court of

 Cook County is a criminal enterprise. U.S. v. Murphy, 768 F.2d 1518, 1531 (7th

 Cir. 1985). The United States Supreme Court acknowledged the judicial

 corruption in Cook County, when it stated that judge “Maloney was one of many

 dishonest judges exposed and convicted through ‘Operation Greylord,’ a

 labyrinthine federal investigation of judicial corruption in Chicago.” Bracey v.

 Gramley, 520 U.S. 899, 901 (1997). Since judges who do not report the criminal

 activities of other judges become principals in the criminal activity, 18 U.S.C. §§




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 2, 3, and 4, and since no judges have reported the criminal activity of the judges

 who have been convicted, the other judges are as guilty as the convicted judges.

       For other examples, former Cuyahoga County Common Pleas Judge Bridget

 McCafferty was sentenced to fourteen (14) months in prison for lying to the FBI

 during the county corruption investigation [ECF No. 74-3]. Another is the “Kids

 for Cash” scandal, where a federal judge in Pennsylvania ordered two former state

 judges to pay $206 million in damages [ECF No. 74-4].

       Enforcement of rule of law and punishment for RICO violations

 specified in Plaintiffs’ civil rights complaint is in the public interest.



                RICO: Criminal Conduct of a Continuing Nature

       The continuing nature of criminal conduct has been demonstrated by the

 allegations in the filings of a “RICO” Case No. 2:22-cv-12665-GAD-EAS, this

 instant “deprivation of rights under color of law” and “RICO” case, and on or

 about February 4, 2025 RICO is continuing beyond the allegations pleaded in

 Complaint [ECF No. 1]. Defendant Oliver made a motion to reopen a child

 support case (Exhibit -3), apparently with intent to get an order to once again try

 to force Plaintiff Shari into wage slavery to pay a “child support”/kidnapping fee to

 him (through Defendant FOC) for Plaintiffs M.A.O. and M.L.O. who are

 kidnapped from Plaintiff Shari under color of law.



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       With divorce Case No. 2020-880855-DM in Oakland County, Michigan,

 Plaintiff Shari argued for sole custody (to protect her children from alleged child

 abuse) with NO “child support”. JOD awarded Plaintiff Shari NO custody of her

 children and sole custody to the alleged abuser Defendant Oliver. JOD was a clear

 violation of familial rights of Shari, M.A.O. and M.L.O under color of law—Shari

 was not convicted of a crime; no evidence of harm on the record substantiates a

 denial of a familial rights under color of law.

       JOD ordered Plaintiff Shari to pay a “child support”/kidnapping fee of

 $1,450 per month to Defendant FOC (who pays Defendant Oliver after their cut)

 based on imputed data and crimes through a kangaroo court. Plaintiff Shari did

 NOT sign the JOD or the UCSO [ECF No. 1-3, PageID.337, 340.]. Child support

 agreements are equivalent to interstate commercial contracts, U.S. v. Sage, 92 F.3d

 101 (2d Cir. 1996); Plaintiff Shari DID NOT SIGN AND DID NOT AGREE.

       Defendants Oliver and FOC (along with other Defendants who allegedly

 conspired and participated in criminal activity to have Plaintiff Shari incarcerated)

 took action to punish Plaintiff Shari pursuant to the unsigned JOD and UCSO that

 are alleged void. Punishment included incarceration under color of law of Plaintiff

 Shari for refusing consent to the violation of Plaintiffs rights, refusing to be

 extorted, and refusing to aid and abet and financially support their criminality and

 crimes against humanity. Plaintiff Shari’s mother was extorted $31,063.37. The


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 agreement to make “child support” order $0 (Exhibit -7) was a condition of Shari’s

 mother Shirley Ober paying the EXTORTION kidnapping fee payment of

 $31,063.37 to release Shari from her unlawful incarceration under color of law

 [ECF No. 45-27, PageID.3523].

       Exhibits -3 and -4 suggest that Defendant Oliver intends to start the scheme

 over again with Defendant FOC. Plaintiff Shari demands her unalienable rights of

 equitable custody, and Defendant FOC has NO authority to any money in this

 matter. Plaintiff Shari will financially support her children WHEN SHE HAS

 CUSTODY OF HER CHILDREN—NO government involvement; NO government

 family court and Title IV-D agency robbing and extorting Plaintiffs of their

 money.

       Under interpretation of Fifth Amendment Due Process: Unbiased Judge and
       Impartial Jury, “Due process of law requires that the proceedings shall be
       fair, but fairness is a relative, not an absolute, concept. . . . What is fair in
       one set of circumstances may be an act of tyranny in others.” Snyder v.
       Massachusetts, 291 U.S. 97, 116, 117 (1934). See also Buchalter v. New
       York, 319 U.S. 427, 429 (1943). (emphasis added)

       “The loss of First Amendment freedoms, for even minimal periods of time,
       unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347,
       373 (1976).

       “The Supreme Court has long recognized as a component of substantive due
       process the right to familial relations. See Prince v. Massachusetts, 321 U.S.
       158, 166, 64 S.Ct. 438, 88 L.Ed. 645 (1944); Meyer v. Nebraska, 262 U.S.
       390, 399, 43 S.Ct. 625, 67 L.Ed. 1042 (1923); Santosky v. Kramer, 455 U.S.
       745, 753, 102 S.Ct. 1388, 71 L.Ed.2d 599 (1982) (there is "a fundamental
       liberty interest of natural parents in the care, custody, and management of


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       their child."). See also, Wallis v. Spencer, 202 F.3d 1126, 1136 (9th Cir.
       2000) ("Parents and children have a well-elaborated constitutional right
       to live together without governmental interference."); Croft v.
       Westmoreland County Children and Youth Services, 103 F.3d 1123,
       1125 (3d Cir. 1997) ("We recognize the constitutionally protected liberty
       interests that parents have in the custody, care and management of their
       children."). See generally Troxel v. Granville, 530 U.S. 57, 120 S.Ct.
       2054, 147 L.Ed.2d 49 (2000). The Due Process Clause "includes a
       substantive component that provides heightened protection against
       government interference with certain fundamental rights and liberty
       interests." Id. at 2060.” Brokaw v. Mercer County, 235 F.3d 1000 (7th Cir.
       2000). (emphasis added)

       “The claim and exercise of a constitutional right cannot thus be
       converted into a crime.” Miller v. United States, 230 F.2d 486, 490 (5th
       Cir. 1956).

       Defendant Oliver and JOD DENY Plaintiff Shari custody of her children.

 The facts found in Complaint substantiate that Defendant judge McDonald allowed

 the admission of hearsay testimony, perjury, subornation of perjury, alleged

 libelous reports that are not on the court record, fraud, and the bypassing of the

 proper presentation of authenticated and vetted evidence, which are the hallmarks

 of lawless courts unencumbered by mandates against abuse of process and failure

 to observe due process. Plaintiff Shari was labelled the “breadwinner” and thus

 allegedly the financial target of a corrupted system.

       In response to the continuation of RICO by Defendant Oliver making a

 motion in February 2025 to reopen a child support case (Exhibit -3), Plaintiff Shari

 does NOT consent to Title IV-D proceedings, does NOT consent to administrative



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 proceedings, does NOT consent to proceedings with a FOC referee instead of a

 judge (Exhibit -4), does NOT consent to proceedings judged by anyone who is

 financially interested in the outcome of custody cases, and does NOT consent to

 the jurisdiction of proceedings by any man or woman who apparently has

 tyrannical power in these alleged unconstitutional courts and fraudulent family

 court proceedings. Plaintiff Shari demands her constitutionally protected right of a

 trial by jury, yet Family Court denies trial by jury. Family court proceedings are in

 violation of Fifth, Sixth, Seventh, and Fourteenth Amendment rights. Defendant

 Oliver does not agree to allowing Plaintiff Shari custody of her children (Exhibit -

 8). Plaintiff Shari will move to strike Defendant Oliver’s motion to reopen a child

 support Case No. 2020-880799-DC, but depending upon what transpires a motion

 for joinder and motion for leave for supplemental pleading may be forthcoming for

 this instant case.

        Complaint and Plaintiffs’ filings have moved this Court to act pursuant to 18

 U.S.C § 3332(a), 42 U.S.C. § 1987, and 18 U.S.C. § 1968 for impanelment of a

 grand jury.


                      ARGUMENT FOR DEFAULT JUDGMENT

        According to the facts of this case and Federal Rules of Civil Procedure,

 Defendant Oliver is in default, and a default judgment serves to advance justice

 when a defendant fails to participate in the legal process.

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       A default judgment may be entered “against a defendant who never appears
       or answers a complaint”. Solaroll Shade and Shutter Corp. Inc. v. Bio-
       Energy Sys., Inc., 803 F.2d 1130, 1134 (11th Cir. 1986).

       A default judgment’s purpose is to protect the diligent party’s rights. The
       entry of default is a deterrent to defendants that choose delay as part of
       their litigation strategy. When the adversary process is halted due to an
       essentially unresponsive defendant, a default judgment is available,
       protecting a plaintiff from “undue delay-harassment.” Accordingly, the entry
       of default allows a court to enforce compliance with the Federal Rules of
       Civil Procedure, which in turn, allows the court to maintain an “orderly and
       efficient judicial system”. This enforcement is consistent with how the
       Federal Rules of Civil Procedure should be construed and administered, e.g.
       Fed. R. Civ. P. 1 “to secure the just, speedy, and inexpensive determination
       of every action and proceeding.” Pikofsky v. Jem Oil, 607 F. Supp. 727, 733
       (E.D. Wis. 1985); Am. Alliance Ins. Co. v. Eagle Ins. Co., 92 F.3d 57, 61
       (2nd Cir. 1996).

       “Pursuant to Rule 55(a) & (b) of the Federal Rules of Civil Procedure,
       "[w]hen a party against whom a judgment for affirmative relief is sought has
       failed to plead or otherwise defend as provided by these rules and that fact is
       made to appear by affidavit or otherwise," the Court may enter default
       judgment in favor of the moving party. Invocation of the rule not only
       provides the trial court with a significant tool for enforcing compliance with
       the other rules of procedure, thereby encouraging an orderly and efficient
       judicial system, but also serves to protect diligent parties who have acted
       expeditiously in accordance with those rules. Chandler Leasing Corporation
       v. UCC, Inc., 91 F.R.D. 81, 83 (N.D.Ill. 1981).” Pikofsky v. Jem Oil, 607 F.
       Supp. 727 (E.D. Wis. 1985).


       Furthermore, RICO is continuing in nature, which has repeatedly been

 demonstrated by the facts presented to this Court. This Court has a duty to hold

 parties accountable pursuant to Fed. R. Civ. P. 12(a)(1)(A)(i), and a duty to the

 timely management of this case pursuant to Fed. R. Civ. P. 1.



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       Rule 12. Defenses and Objections: When and How Presented; Motion for
       Judgment on the Pleadings; Consolidating Motions; Waiving Defenses;
       Pretrial Hearing
       (a) Time to Serve a Responsive Pleading.
       (1) In General. Unless another time is specified by this rule or a federal
       statute, the time for serving a responsive pleading is as follows:
       (A) A defendant must serve an answer:
       (i) within 21 days after being served with the summons and complaint; or
       Rule 1. Scope and Purpose
       These rules govern the procedure in all civil actions and proceedings in the
       United States district courts, except as stated in Rule 81. They should be
       construed, administered, and employed by the court and the parties to
       secure the just, speedy, and inexpensive determination of every action
       and proceeding. (emphasis added)



                                   CONCLUSION

       Plaintiffs SHARI L. OLIVER, M.A.O. and M.L.O. request for the record that

 this Court enter a DEFAULT JUDGMENT against Defendant MATTHEW L.

 OLIVER for failure to properly and timely address, plead, or otherwise defend the

 issues complained of in Plaintiffs’ verified complaint [ECF No. 1] in accordance

 with Fed. R. Civ. P. 8(b) within the scope of Fed. R. Civ. P. 55(b)(2) .

       WHEREFORE, Plaintiffs move this Honorable Court to GRANT this

 motion and enter a DEFAULT JUDGMENT against MATTHEW W. OLIVER on all

 counts pleaded within Plaintiffs’ complaint [ECF No. 1]:

          A. Real damages of at least $74,868.79;




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          B. Threefold real damages in accordance with the civil remedies afforded

             to victims under 18 U.S.C. § 2333 as pleaded in this complaint under

             18 U.S.C. § 2331;

          C. Punitive damages of two hundred (200) times awarded in

             accordance’s with the laws of torts pursuant to Pacific Mutual Life

             Insurance Company v. Cleopatra Haslip et al, 499 U.S. 1, 111 S.Ct.

             1032, 113 L.Ed.2d 1 (1991);

          D. Lost wages and benefits in the amount of $150,000 per year,

             beginning March 2020;

          E. For Plaintiff Shari’s unlawful detainment, damages awarded in

             accordance with Trezevant v. City of Tampa, 741 F.2d 336 (11th Cir.

             1984), which set the precedent of an award for $25,000.00 for twenty-

             three (23) minutes of unlawful detainment. This is equivalent to

             $1,086.96 per minute. Since this amount was awarded on October 22,

             1982 (Exhibit S [ECF No. 1-3, PageID.369]), accounting for inflation

             this same award would be approximately $3,490.02 per minute

             (Exhibit T [ECF No. 1-3, PageID.370]) in current monetary value.1

             Using this metric, twenty-three (23) minutes of unlawful detainment


 1
  Source of inflation calculation: https://www.bls.gov/data/inflation_calculator.htm
 (September 2024 data was the latest available at the time verified complaint was
 executed).

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             would amount to $80,270.46. One (1) day of unlawful detainment,

             which is one thousand four hundred forty (1440) minutes per day,

             would amount to $5,025,628.80. Plaintiff Shari spent one hundred

             and eight (108) days in jail (which calculates to $542,767,910.40)

             until her release after Plaintiff Shari’s mother was extorted

             $31,063.37;

          F. Compensatory damages in an amount to be determined by the Jury;

          G. Pain and suffering in an amount to be determined by the Jury;

          H. Treble damages for RICO;

          I. Any applicable statutory damages or penalties;

          J. Pre-judgment interest on the principal sum awarded by the Jury at the

             maximum rate allowed by law;

          K. Post-judgment interest at the maximum rate allowed by law;

          L. Costs and other recoverable amounts as allowed by law;

          M. Such other and further relief as is just and proper.

                                        Respectfully submitted,

                                           /s/ Shari L. Oliver
                                        __________________________________
 Dated: February 21, 2025               SHARI L. OLIVER, Plaintiff and mother
                                        189 N. Castle Dr. (2675 W.)
                                        Cedar City, UT 84720
                                        Telephone: (248) 321-6175
                                        E-mail: jebezob@hotmail.com



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                          CERTIFICATE OF SERVICE

       I hereby certify that, on February 21, 2025, I caused the foregoing

 document, PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AGAINST

 DEFENDANT MATTHEW W. OLIVER to be electronically filed with the Clerk of

 the Court using the CM/ECF System, which will send notification for retrieval of

 an electronic copy of this document to all parties and counsel of record.

       Additionally, I caused the foregoing document to be both e-mailed and

 mailed by U.S.P.S. Priority Mail to the following Defendants at the addresses as

 follows:


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                                                 /s/ Shari L. Oliver
                                               _____________________________
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 2:24-cv-12962-GAD-EAS Notice is electronically mailed to:

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